                    Case 1:15-cv-05871-KPF  Document    14 OF
                                                           Filed 04/06/16 Pageof 11 of 1


MANDATE
                       Case  16-243, Document
                                 UNITED       15, 04/06/2016,
                                              23,
                                         STATES   02/10/2016,
                                                  COURT       1702951,
                                                              1744765,
                                                              APPEALS   Page1
                                                 for the                                 N.Y.S.D. Case #
                                          SECOND CIRCUIT                                 15-cv-5871(LAP)
                             ____________________________________________

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the Thurgood
 Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the 10th day of February, two
 thousand and sixteen,

 ____________________________________

 Kelly Price,                                                      ORDER
                                                                   Docket Number: 16-243
                Plaintiff - Appellant,

 V.                                                                    USDC SDNY
                                                                       DOCUMENT
 Detective Linda Simmons, ADA Maria Strohbehn, Individually            ELECTRONICALLY FILED
 and as an employee of the New York County District Attorney's         DOC #:   _________________
 Office, ADA Kenya Wells, Individually and as an employee of the                   April 06
                                                                                         07, 2016
 New York County District Attorney's Office, Deputy DA Audrey
                                                                       DATE FILED: ______________
 Moore, as employee of the New York County District Attorney's
 Office, ADA Larry Newman, as employee of the New York
 County District Attorney's Office, Laura Higgins Nee
 Richendorger, as employee of the New York County District
 Attorney's Office, ADA Christian Maloney, as employee of the
 New York County District Attorney's Office, Cyrus Vance, Jr.,
 Inspector Obe, of the New York City Police Department, in her
 capacity as an employee of the New York City Police Department,
 Rose Pierre-Louis, in her capacity as the Commissioner of
 Domestic Violence of the City of New York, ADA Patricia Bailey,
 as employee of the New York County District Attorney's Office,
 ADA Susan C. Roque, as employee of the New York County
 District Attorney's Office,

            Defendants - Appellees.
 _______________________________________

          A notice of appeal was filed on January 22, 2016. Appellant's Form D-P was due February 5, 2016. The
 case is deemed in default.

          IT IS HEREBY ORDERED that the appeal will be dismissed effective March 2, 2016 if the form is not
 filed by that date.


                                                             For The Court:
                                                             Catherine O'Hagan Wolfe,
                                                             Clerk of Court




MANDATE ISSUED ON 04/06/2016
